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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
                v.                           )         17-CR-6089L
                                             )
JEB TYLER,                                   )
                                             )
                      Defendant.             )



                             DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on June 30, 2018

and ending on July 29, 2018. (See, Attachment 1).


      I declare under penalty of perjury that the foregoing is true and correct. Executed on

July 30, 2018 at Rochester, NY.

                                          s/Michelle McCreedy
                                          Michelle McCreedy
                                          Paralegal
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Attachment 1


                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NEW YORK
            COURT CASE NUMBER: 17-CR-6089L; NOTICE OF FORFEITURE

        Notice is hereby given that on June 28, 2018, in the case of U.S. v. JEB TYLER,
Court Case Number 17-CR-6089L, the United States District Court for the Western
District of New York entered an Order condemning and forfeiting the following property
to the United States of America:

Cash/Currency in lieu of Premises and Real Property located at 4385 County Road
#16, Canandaigua, New York 14424 (17-FBI-002204) Parcel # 126.16-1-8.110, which
was posted on June 27, 2017

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any
person, other than the defendant(s) in this case, claiming interest in the forfeited
property must file an ancillary petition within 60 days of the first date of publication
(June 30, 2018) of this Notice on this official government internet web site, pursuant to
Rule 32.2 of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The
ancillary petition must be filed with the Clerk of the Court, 2120 United States
Courthouse, 100 State Street, Rochester, NY 14614, and a copy served upon
Assistant United States Attorney Grace Carducci, United States Attorney's Office, 500
Federal Building, Rochester, NY 14614. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of
the petitioner's acquisition of the right, title and interest in the forfeited property and
any additional facts supporting the petitioner's claim and the relief sought, pursuant to
21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such
petitions are filed, following the expiration of the period specified above for the filing of
such ancillary petitions, the United States shall have clear title to the property and may
warrant good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any
facts you believe justify the return of the property; and be signed under oath, subject to
the penalty of perjury, or meet the requirements of an unsworn statement under
penalty of perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to
remission or mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria
for remission of the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for
mitigation of the forfeiture are found at 28 C.F.R. Sections 9.5(b). The petition for
remission need not be made in any particular form and may be filed online or in writing.
You should file a petition for remission not later than 11:59 PM EST 30 days after the
date of final publication of this notice. See 28 C.F.R. Section 9.3(a). The
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https://www.forfeiture.gov/FilingPetition.htm website provides access to a standard
petition for remission form that may be mailed and the link to file a petition for
remission online. If you cannot find the desired assets online, you must file your
petition for remission in writing by sending it to Assistant United States Attorney Grace
Carducci, United States Attorney's Office, 500 Federal Building, Rochester, NY 14614.
This website provides answers to frequently asked questions (FAQs) about filing a
petition for remission. You may file both an ancillary petition with the court and a
petition for remission or mitigation.
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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between June 30, 2018 and July 29, 2018. Below is a summary report that identifies the uptime for each
day within the publication period and reports the results of the web monitoring system’s daily check that
verifies that the advertisement was available each day.

U.S. v. JEB TYLER,

Court Case No:              17-CR-6089L
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   06/30/2018                      24.0                          Verified
         2                   07/01/2018                      24.0                          Verified
         3                   07/02/2018                      24.0                          Verified
         4                   07/03/2018                      24.0                          Verified
         5                   07/04/2018                      24.0                          Verified
         6                   07/05/2018                      24.0                          Verified
         7                   07/06/2018                      24.0                          Verified
         8                   07/07/2018                      24.0                          Verified
         9                   07/08/2018                      24.0                          Verified
        10                   07/09/2018                      24.0                          Verified
        11                   07/10/2018                      24.0                          Verified
        12                   07/11/2018                      24.0                          Verified
        13                   07/12/2018                      24.0                          Verified
        14                   07/13/2018                      24.0                          Verified
        15                   07/14/2018                      24.0                          Verified
        16                   07/15/2018                      24.0                          Verified
        17                   07/16/2018                      24.0                          Verified
        18                   07/17/2018                      24.0                          Verified
        19                   07/18/2018                      24.0                          Verified
        20                   07/19/2018                      24.0                          Verified
        21                   07/20/2018                      24.0                          Verified
        22                   07/21/2018                      24.0                          Verified
        23                   07/22/2018                      24.0                          Verified
        24                   07/23/2018                      24.0                          Verified
        25                   07/24/2018                      24.0                          Verified
        26                   07/25/2018                      24.0                          Verified
        27                   07/26/2018                      24.0                          Verified
        28                   07/27/2018                      24.0                          Verified
        29                   07/28/2018                      24.0                          Verified
        30                   07/29/2018                      24.0                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
